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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


 MICHAEL GONIDAKIS, et al.,                          :
                                                     :
        Plaintiffs,                                  :
                                                     : Case No. 2:22-CV-773
             v.                                      :
                                                     : Chief Judge Algenon Marbley
 FRANK LaROSE et al.,                                :
                                                     :
       Defendants.                                   :


       OHIO SECRETARY OF STATE LAROSE’S RESPONSE TO PLAINTIFFS’
        EMERGENCY MOTION TO VACATE STAY AND FOR IMMEDIATE
                 APPOINTMENT OF A THREE-JUDGE PANEL


       Ohio Secretary of State Frank LaRose does not object to this Court lifting its existing stay

of this matter and appointing a three-judge panel pursuant to 28 U.S.C. § 2284(a), as requested by

the Plaintiffs. On March 16, 2022, the Supreme Court of Ohio again invalidated the state

legislative district plan adopted by the Ohio Redistricting Commission, this time the plan adopted

on February 24, 2022 (“Third Plan”). See League of Women Voters, et al. v. Ohio Redistricting

Commission, Slip Opinion No. 2022-Ohio-789. Based on the Supreme Court’s ruling, there are

currently no state legislative districts for which a primary election can be held on May 3, 2022.

Per the Notice filed with this Court, the only way in which primary elections for the House and

Senate state legislative districts could have been held on May 3, 2022 was with that Third Plan.

Doc. 71. With military and overseas voting (“UOCAVA”) and early voting for the primary set to

begin shortly, logistically, county boards of election cannot hold primary elections for those races
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on May 3 with yet another legislative district plan. At present, the primary election for those

districts will have to be held at a later date.

        The Court ordered the Commission to reconvene and adopt a plan no later than March 28,

2022. See League of Women Voters, et al. v. Ohio Redistricting Commission, Entry dated March

16, 2022. The Commission is going to convene and work to comply with the Court’s Order. And

although the May 3, 2022 primary election is no longer looming for the state legislative races, the

need for final state legislative districts to be used in this year’s elections remains.

        Ohio needs state legislative districts. Given the history of the state legislative redistricting

proceedings to date, the Secretary believes that it would be prudent for the federal court to begin

proceedings to establish a three-judge panel so that a primary—and ultimately a general—election

can be held in the event that the state proceedings ultimately fail. He therefore does not object to

lifting the stay in this case, empaneling a three-judge panel and, at a minimum, allowing this

Court’s processes to run in parallel with the work of the Ohio Redistricting Commission.

                                                  Respectfully submitted,

                                                  OHIO ATTORNEY GENERAL

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 18, 2022, the foregoing was filed with the Court. Notice of

this filing will be sent by operation of the Court’s electronic filing system to all parties for whom

counsel has entered an appearance. Parties may access this filing through the Court’s system.

                                              /s/ Bridget C. Coontz
                                              BRIDGET C. COONTZ (0072919)
                                              Assistant Attorney General




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